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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA


SISTERSONG WOMEN OF COLOR
REPRODUCTIVE JUSTICE
COLLECTIVE, on behalf of itself and
its members, et al.,
                                           No. 1:19-cv-02973-SCJ
                   Plaintiffs,

      v.
                                           ORAL HEARING REQUESTED
BRIAN KEMP, Governor of the State
of Georgia, in his official capacity, et
al.,

                   Defendants.



BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY
    JUDGMENT AND/OR PARTIAL SUMMARY JUDGMENT

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                              INTRODUCTION
      Defendants Brian Kemp, Christopher M. Carr, Kathleen Toomey, the
Members of the Georgia Composite Medical Board, LaSharn Hughes, Julia

Slater, Joyette M. Holmes, Daniel Porter, and Meg Heap (all sued in their

official capacities) (collectively “Defendants”) are entitled to summary
judgment or partial summary judgment for multiple independent reasons.

      First, Defendants are entitled to summary judgment on all claims on
the ground that Plaintiffs have failed to establish standing to bring this suit.

Plaintiff SisterSong Women of Color Reproductive Justice Collective lacks

associational standing because it has not identified a single one of its
members who would have standing in her own right (i.e., a pregnant woman

seeking an abortion who claims she would be affected by the LIFE Act). Nor

can SisterSong—which is not even regulated by the Act—assert standing

based on its voluntary decisions about how to spend its resources. The other

Plaintiffs—physicians and abortion providers—have also failed to establish

third-party standing to bring this suit on behalf of their patients. Under
Kowalski v. Tesmer, 543 U.S. 125, 130 (2004), a plaintiff alleging third-party

standing must establish both a close relationship with the third party and a

hindrance to that party’s assertion of her own rights. Plaintiffs here have not
proven either element, and have offered nothing more than boilerplate and

conclusory allegations in support of their third-party standing.

      Second, even if Plaintiffs have standing, their void-for-vagueness claim

fails as a matter of law. Plaintiffs are bringing a facial vagueness challenge


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to the Act’s definition of “natural person,” and courts have repeatedly
emphasized the high bar that such claims must satisfy. Plaintiffs speculate

about potentially vague applications of the Act’s definitions, but that

reasoning gets things backwards. In a facial vagueness challenge, a statute
must be upheld if it has any valid applications—not struck down if the

Plaintiffs can identify one scenario in which it is potentially vague or unclear.

To the extent Plaintiffs are concerned that specific applications of the

definitions might be vague, the proper vehicle is an as-applied challenge

directed at those applications, not a facial challenge directed at the entire

Act. In all events, the Act’s definition of “natural person” is clear on its face

and unquestionably has valid applications. And Plaintiffs’ argument that this

definition might make other statutes (such as the prohibition on reckless

conduct) vague or unclear disregards the Georgia courts’ authoritative

interpretations of those statutes.

      Third, even if this Court were to find in favor of Plaintiffs on one or

both of their claims, Sections 3(b) and 4 can easily be severed from the rest of
the Act. Georgia law always favors severability and the Act contains an

express severability clause. Regardless of the validity of the Act’s limitations

on abortion, Plaintiffs have failed to demonstrate that the Court should
enjoin a number of provisions (never challenged here) that relate to child

support, tax benefits, population determinations, and other matters

unrelated to abortion. The Court should enter judgment for Defendants on all
provisions of the Act not specifically found unconstitutional.



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                               BACKGROUND
I.    Overview of the LIFE Act
      The LIFE Act is a comprehensive measure to protect the life of the

unborn and promote the wellbeing of unborn children and their parents. The

Act seeks to advance those goals through multiple distinct provisions.

Section 4 prohibits “using, prescribing, or administering any instrument,
substance, device, or other means with the purpose to terminate a pregnancy

with knowledge that termination will, with reasonable likelihood, cause the

death of an unborn child” who possesses a “detectable human heartbeat.” Act
§4(a)(1), (b). The Act defines an “unborn child” as “a member of the species

Homo sapiens at any stage of development who is carried in the womb.” Id.

§3(e)(2). It further defines a “detectable human heartbeat” as “embryonic or
fetal cardiac activity or the steady and repetitive rhythmic contraction of the

heart within the gestational sac.” Id. §3(e)(1). The Act clarifies that a

procedure will not be deemed an abortion if it is performed with the purpose
of “[r]emoving a dead unborn child caused by spontaneous abortion” (i.e.,

miscarriage) or “[r]emoving an ectopic pregnancy.” Id. §4(a)(1).

      Section 4’s limitation on post-heartbeat abortions has multiple

exceptions. A post-heartbeat abortion is allowed if the mother has a “medical

emergency,” which is defined as a situation in which “[a] physician

determines, in reasonable medical judgment,” that “an abortion is necessary

in order to prevent the death of the pregnant woman or the substantial and

irreversible physical impairment of a major bodily function of the pregnant



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woman.” Act §4(a)(3), (b)(1). It is also allowed if the “probable gestational age
of the unborn child is 20 weeks or less and the pregnancy is the result of rape

or incest in which an official police report has been filed alleging the offense

of rape or incest.” Id. §4(b)(2). A post-heartbeat abortion is also permitted in a
“medically futile” pregnancy, i.e., when “in reasonable medical judgment, an

unborn child has a profound and irremediable congenital or chromosomal

anomaly that is incompatible with sustaining life after birth.” Id. §4(a)(4),

(b)(3).1 Finally, the Act creates affirmative defenses to prosecution for any

physician, nurse, pharmacist, or physician assistant who “provides medical

treatment to a pregnant woman which results in the accidental or

unintentional injury to or death of an unborn child.” Id. §4(h).

      Although Section 4 is the overwhelming focus of Plaintiffs’ complaint,

the Act does far more than regulate abortion. Section 2 makes important

findings: that all human beings are created equal and endowed with

unalienable rights; that the Georgia and U.S. Constitutions protect the

fundamental rights of all persons; and that modern medical science has
shown that “unborn children are a class of living, distinct persons.” Act §2.

Consistent with the Act’s stated “policy … to recognize unborn children as

natural persons,” Section 3(b) defines “natural person” to include “any human
being including an unborn child.” Id. §§2(6), 3(b).



      1 Section 11 requires, in the case of a post-heartbeat abortion, that the
physician report to the Department of Health the basis for concluding that
one of the exceptions applies. See id. §11.

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      The Act also contains several other provisions that promote the
wellbeing of unborn children and their parents. The Act provides that any

natural person, including an unborn child with a detectable heartbeat, shall

be included in population-based determinations. Id. §(3)(d). To promote
maternal wellbeing during pregnancy, the Act amends Georgia’s alimony and

child-support statutes to define “child” as including “any unborn child with a

detectable human heartbeat.” Id. §5. This provision ensures that absent

fathers will contribute to the “direct medical and pregnancy related expenses

of the mother of the unborn child.” Id. Relatedly, the Act provides tax benefits

for expectant parents by allowing them to claim an unborn child with a

detectable heartbeat as a dependent for purposes of state income taxes. Id.

§12. And the Act provides an enhanced tort recovery for parents whose

unborn children with a detectable heartbeat suffer fetal homicide. Id. §6.

      Sections 7 and 8 of the Act further update Georgia’s informed-consent

and informational requirements. Section 7 requires physicians to inform a

pregnant woman about the presence of a detectable human heartbeat before
performing an abortion. Id. §7. And Section 8 requires the Department of

Health to give the public “objective, nonjudgmental, and … accurate scientific

information” about the unborn. Id. §8.
      Finally, Section 14 of the Act contains a broad severability clause,

providing that “[a]ll provisions of this Act shall be severable in accordance

with Code Section 1-1-3.” Act §14. According to O.C.G.A. §1-1-3, all valid
provisions of the Act are to “remain of full force and effect as if such portion



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so declared or adjudged invalid or unconstitutional were not originally a part
of” the Act. O.C.G.A. §1-1-3.

II.   Plaintiffs’ Complaint and Preliminary Injunction Motion
      On June 28, 2019, Plaintiffs filed a complaint seeking to enjoin the

entire Act. Compl., ECF No. 1. None of the Plaintiffs are individual women
who claim a burden on their right to an abortion. Instead, Plaintiffs consist of

an advocacy organization and a group of abortion providers and physicians.

      The complaint includes two claims for relief. First, Plaintiffs allege that
the Act’s restrictions on abortion “violate[] Georgians’ right to privacy and

liberty secured by the Fourteenth Amendment to the United States

Constitution.” Id. ¶73. Second, Plaintiffs allege that Section 3(b)’s new
definition of “natural person” is unconstitutionally vague under the Due

Process Clause. Id. ¶¶76-79. Plaintiffs allege that the term “person” appears

in the Georgia code “hundreds of times” and that the Act “do[es] not provide

adequate guidance as to how they can comply with the law.” Id. ¶¶76-77.

Although Plaintiffs directly challenge only the restrictions on abortion and

the definition of “natural person”—and allege no injuries resulting from any
other provisions of the Act—they nonetheless ask that the Court permanently

enjoin Defendants from enforcing the entire Act.

      Plaintiffs subsequently moved for a preliminary injunction, and this
Court granted that motion on October 1, 2019. See Order, ECF No. 97. The

Court found that Plaintiffs were likely to succeed on their substantive due

process claim because “under no circumstances whatsoever may a State



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prohibit or ban abortions at any point prior to viability, no matter what
interests the State asserts to support it.” Id. at 33. The Court further held

that Plaintiffs were likely to succeed on their vagueness claim in light of

“unanswered questions” about how the Act’s definitions would apply to other
statutes and a risk of “arbitrary or discriminatory enforcement.” Id. at 38-40.

Finally, the Court held that no other provisions of the Act were severable

from those that Plaintiffs challenged because even the provisions that have

nothing to do with abortion incorporated some of the definitions from

Section 3 of the Act. Id. at 44-45.

III.   Plaintiffs’ Motion to Severely Limit Expert Discovery
       Recognizing that “discovery is appropriate,” the Court put this case on
a four-month discovery track. Id. at 46. During the discovery period,

Defendants engaged two prominent experts to offer testimony in support of

the State’s defense of the Act.2 Plaintiffs nonetheless sought to bar the State


       2Dr. Farr Curlin, a professor at Duke University School of Medicine
and expert in bioethics, would have testified that the Act’s limitations on
elective abortion were consistent with principles of bioethics; that the
heartbeat is a reasonable point at which to limit elective abortion; that the
Act would protect women from the health and safety risks of later-term
abortions; and that the Act would help preserve the integrity of the medical
profession. See Curlin Report, ECF No. 113-1. Defendants also proffered
testimony from Dr. Ingrid Skop, a practicing obstetrician-gynecologist with
more than 20 years of experience. Dr. Skop would have testified about, inter
alia, the feasibility of detecting pregnancy and obtaining elective abortions
within the limits imposed by the Act; the health and safety risks of later-term
abortions; women’s ability to control their reproductive choices through birth
control and/or emergency contraception; and the efficacy of the statutory
exceptions in the Act. See Skop Report, ECF No. 113-2.

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from relying on any of this expert testimony. On October 29, 2019, more than
two months into the four-month discovery period, Plaintiffs filed a motion to

preclude any expert testimony on “the state’s interests in banning abortion

prior to viability, along with the strength of those interests and the extent to
which H.B. 481 is closely tied to serving those interests.” Motion at 1, ECF

No. 104. Defendants opposed that motion, arguing that, under Rule 26’s

liberal discovery standard, the State should be permitted to develop a

comprehensive factual and expert record in defense of the Act.

      On December 4, 2019, this Court granted Plaintiffs’ motion to severely

limit discovery. See Order, ECF No. 115. The Court concluded that “[t]he

Supreme Court has repeatedly and unequivocally held that under no

circumstances whatsoever may a state prohibit or ban abortions prior to

viability, no matter what interests the state asserts to support it.” Id. at 2-3.

The Court thus held that “discovery, including expert discovery, regarding

the state’s interests underlying H.B. 481 should be precluded.” Id. at 5.

      Even after Plaintiffs succeeded in excluding Defendants’ expert
testimony, Plaintiffs insisted on propounding their own expert testimony.

After weeks of negotiations, Plaintiffs agreed to withdraw their proffered

expert testimony in exchange for a series of stipulations. Defendants entered
into those stipulations (which are being filed concurrently) only in light of the

Court’s order excluding their affirmative expert testimony. Defendants

continue to object to the exclusion of their expert testimony and reserve all
rights to seek further review of the Court’s discovery order.



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                                 ARGUMENT
      Summary judgment is required if “there is no genuine dispute as to any
material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a). There is no genuine dispute if the moving party shows either

(1) “an absence of evidence in the record to support an essential element of
the non-moving party’s case,” or (2) “evidence … that the non-moving party

cannot prove its case.” Seok Hwi Cha v. YP’s Kani, Inc., 317 F. Supp. 3d 1215,
1216 (N.D. Ga. 2018). The burden then shifts to the non-moving party to

“com[e] forward with specific facts to show a genuine dispute.” Id.

I.    Defendants Are Entitled To Summary Judgment On All Claims
      Because Plaintiffs Have Failed To Establish Standing.
      The plaintiff, “as the party invoking federal jurisdiction, bears the

burden of establishing” its standing to bring suit. Spokeo Inc. v. Robins, 136

S. Ct. 1540, 1547 (2016); Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61
(1992). Now that this case is at summary judgment, Plaintiffs “can no longer

rest on … mere allegations,” but “must set forth by affidavit or other evidence

specific facts” showing standing. Lujan, 504 U.S. at 561 (cleaned up).

      A.    Plaintiff SisterSong lacks organizational standing.
      Plaintiff SisterSong does not, and cannot, contend that it has any
constitutional rights of its own that are allegedly infringed by the LIFE Act.

Instead, it seeks to bring this suit on behalf of its members to vindicate their

alleged constitutional rights. See Compl. ¶¶11, 70, ECF No. 1.
      An organization may demonstrate standing in this posture in one of

two ways. See Democratic Party of Georgia, Inc. v. Crittenden, 347 F. Supp.


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3d 1324, 1336 (N.D. Ga. 2018). First, it can show that “its members would
otherwise have standing to sue in their own right ….” Id. (cleaned up).

Second, it can show that the “defendant’s illegal acts impair[ed] the

organization’s ability to engage in its own projects by forcing the organization
to divert resources in response.” Id. SisterSong has demonstrated neither.

            1.    SisterSong has not identified any members with
                  standing to sue in their own right.
      First, the members that Plaintiffs invoke as the basis for SisterSong’s
standing do not have standing to sue in their own right. Defendants’

discovery requests asked SisterSong to identify any individual members

SisterSong intended to rely upon to establish the association’s standing, plus
the ground on which those individuals could bring suit in their own right. In

response, Plaintiffs offered two anonymous members plus a single sentence

regarding standing: “The SisterSong members below have child-bearing
capacity and would therefore suffer the injuries outlined in the Complaint

under H.B. 481.” Defts’ Statement of Material Facts (SMF) ¶2.

      Under settled law, merely being of childbearing age is insufficient to

confer standing to challenge a regulation of abortion procedures. See, e.g., Roe

v. Wade, 410 U.S. 113, 128 (1973) (“[P]ossible future contraceptive failure,

possible future pregnancy, possible future unpreparedness for parenthood,

and possible future impairment of health … [are not] sufficient to present an

actual case or controversy.”). For such women, the harm of being “denied an

abortion” is “hypothetical,” not concrete. Crossen v. Breckenridge, 446 F.2d



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833, 839 (6th Cir. 1971); see also McCormack v. Hiedeman, 2012 WL 256026,
at *3 (D. Idaho 2012) (“[T]he overwhelming majority of courts to consider this

issue—and most importantly the Supreme Court—have viewed

nonpregnancy as fatal to standing.”); McInnes-Misenor v. Maine Med. Ctr.,
211 F. Supp. 2d 256, 260-61 (D. Me. 2002) (collecting cases), aff’d McInnis-

Misenor v. Maine Med. Ctr., 319 F.3d 63, 73 (1st Cir. 2003). SisterSong has

thus failed to demonstrate that the two members it invokes as the basis for

its associational standing would have standing to sue in their own right.

            2.     SisterSong has failed to establish organizational
                   standing under a diversion-of-resources theory.
      Alternatively, SisterSong alleges that the Act “would force [it] to divert
its scarce time and resources away from many other aspects of [its] work to
focus on helping Georgians access abortion care out of state and otherwise
adjust to [the Act’s] sweeping impact.” Compl. ¶11, ECF No. 1. At most,
however, those allegations merely reflect SisterSong’s voluntary choices about
how to spend its resources rather than anything compelled or required by the
Act. See Lujan, 504 U.S. at 590 (plaintiff’s injury-in-fact must be “fairly
traceable to the defendant’s allegedly unlawful conduct” (citation omitted)).
      “[S]tanding depends considerably upon whether the plaintiff is himself
an object of the action (or forgone action) at issue.” Lujan, 504 U.S. at 561.
“[W]hen the plaintiff is not himself the object of the government action or
inaction he challenges, standing … is ordinarily substantially more difficult
to establish.” Id. (citation omitted); see, e.g., Summers v. Earth Island Inst.,
555 U.S. 488, 493-94 (2009) (organization lacked standing to challenge
regulations that “neither require nor forbid any action on the[ir] part”);

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Women’s Emergency Network v. Bush, 323 F.3d 937, 948 (11th Cir. 2003)
(organization “ineligible” for grant program lacked standing to challenge it).
      Article III’s requirements “would be eviscerated if an advisor or
organization can be deemed to have Article III standing merely by virtue of

its efforts and expense to advise others how to comport with the law, or by

virtue of its efforts and expense to change the law.” Fair Elections Ohio v.

Husted, 770 F.3d 456, 459-61 (6th Cir. 2014). The “Article III standing

limitation prevents a plaintiff from bringing a federal suit to resolve an issue

of public policy if success does not give the plaintiff … some relief other than

the satisfaction of making the government comply with the law.” Id.

      When asked by Defendants to “describe in detail” what resources the

Act “caused” SisterSong to divert, Plaintiffs offered only vague responses.

They assert that “SisterSong’s Georgia Coordinator has diverted about 60% of

her time, and SisterSong’s Executive Director has diverted about 40% of her

time, in response to H.B. 481,” Defts’ SMF ¶3, but provide no specifics about

what those “responses” entailed. They further assert that “SisterSong had to

spend approximately $20,000 in 2019 to hire a public relations firm to handle

the increased volume of media inquiries about H.B. 481,” id., but obviously
nothing in the Act compelled SisterSong to talk to the press. And Plaintiffs

claim that SisterSong diverted resources from “trainings” to “educate

members and the public about H.B. 481’s new restrictions and what they can
do about it.” Id. But they fail to explain how these “educat[ion]” efforts

differed from the group’s regular “trainings.”



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      At bottom, SisterSong’s “harm” appears to be nothing more than its
voluntary decision to inform its members and the public about the Act. See

Defts’ SMF ¶4. But a plaintiff’s “self-serving observation that it has expended

resources to educate its members and others regarding [the challenged law]
does not present an injury in fact.” Nat’l Taxpayers Union v. United States, 68

F.3d 1428, 1434 (D.C. Cir. 1995). Far from being an injury caused by the Act,

SisterSong’s expenditures, “if anything … appear[] to be squarely within

[SisterSong’s] core activities.” Nat. Res. Def. Council, Inc. v. Wheeler, 367 F.

Supp. 3d 219, 230 (S.D.N.Y. 2019). SisterSong’s “efforts and expense to advise

others how to comport with the law, or … to change the law” simply do not

confer standing to bring suit. Fair Elections Ohio, 770 F.3d at 460.3

      B.    The Provider Plaintiffs lack third-party standing.
      The other Plaintiffs—who are abortion providers—have also failed to

demonstrate standing. Once again, Plaintiffs are not alleging that any of

their own constitutional rights are violated; instead, they are seeking to

vicariously assert the rights of non-party women who might need abortions in
the future. To have third-party standing, the Providers must show both



      3  This case is distinguishable from cases addressing the standing of
organizations that use “testers” to identify discrimination. See Havens Realty
Corp. v. Coleman, 455 U.S. 363 (1982). Under the Fair Housing Act, all
persons have “a legal right to truthful information about available housing.”
Id. at 373. It thus makes sense to allow an organization to bring suit when its
“testers” are unlawfully steered to certain housing. But nothing in Havens
suggests that a non-regulated organization like SisterSong can establish
standing merely by taking voluntary steps to advise others about the law.

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(1) that they have “a ‘close’ relationship with the person who possesses the
right,” and (2) that there is a “‘hindrance’ to the possessor’s ability to protect

[her] own interests.” Kowalski, 543 U.S. at 130. The record shows neither.

      Defendants gave Plaintiffs ample opportunity to establish their third-
party standing, asking them to “identify the facts you intend to rely upon to

establish your standing to bring this action on behalf of patients.” Plaintiffs

responded with one sentence: “[T]he unique physician-patient relationships

that Plaintiffs establish are close, intimate, and special, and create ethical

and medical duties.” Defts’ SMF ¶5.

      That single, conclusory sentence is insufficient to establish Plaintiffs’

ability to litigate other people’s constitutional rights. First, there is no

“hindrance” if the purportedly represented third parties have proven capable

of representing themselves before, even if they are disadvantaged. See, e.g.,

Kowalski, 543 U.S. at 131-32. That is clearly not the case here, and Plaintiffs

have not argued otherwise. There are countless instances of individual

women suing to vindicate their own claimed abortion rights. See, e.g., Azar v.
Garza, 138 S. Ct. 1790 (2018); Doe v. Bolton, 410 U.S. 179 (1973). Plaintiffs

have not even argued, much less proven, that Georgia women would be

unable to bring their own constitutional challenges to the Act.
      Second, the relationship between the Providers and the allegedly

represented third parties cannot be “close” if their interests potentially

conflict. See Elk Grove Unified Sch. Dist. v. Newdow, 542 U.S. 1, 15 & n.7
(2004). Such a potential conflict exists here. The Act would protect women’s



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health by requiring women who seek elective abortions to obtain pre-
heartbeat abortions early in pregnancy, which are safer than abortions later

in pregnancy. See, e.g., Compl. ¶62, ECF No. 1 (acknowledging that “the risks

associated with pregnancy increase as pregnancy advances”). Yet the
Providers have an independent economic incentive in preserving their own

ability to continue offering later-term abortions. Those differing incentives at

least give rise to a potential conflict of interest that should foreclose the

Providers from bringing constitutional claims on behalf of absent third

parties. At the very least, the Providers bear the evidentiary burden of

establishing a “close” relationship with the women on whose behalf they are

purporting to sue, which they have not even attempted to satisfy.

      Finally, this Court may consider deferring consideration of this issue

until the Supreme Court issues its decision in June Medical Services v. Gee,

No 18-1460. In June Medical, the Supreme Court granted Louisiana’s cross-

petition for certiorari to address whether abortion providers can be

“presumed to have third-party standing to challenge health and safety
regulations on behalf of their patients absent a ‘close’ relationship with their

patients and a ‘hindrance’ to their patients’ ability to sue on their own

behalf.” The Supreme Court’s resolution of that issue could be relevant to the
question of whether the Provider Plaintiffs have third-party standing here.




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II.   Defendants Are Entitled To Summary Judgment on Plaintiffs’
      Void-for-Vagueness Claim.
      Defendants are entitled to summary judgment on Count II of the

complaint because there are no disputed issues of material fact and Plaintiffs’

void-for-vagueness claim fails as a matter of law.
      A.    To survive a vagueness challenge, a law need only “give fair

notice of conduct that is forbidden or required.” FCC v. Fox Television

Stations, Inc., 567 U.S. 239, 253 (2012); see United States v. Marino-Garcia,
679 F.2d 1373, 1383-84 (11th Cir. 1982). Thus, a statute is void-for-vagueness

in only one of two circumstances: either (1) the “regulated parties [do not]

know what is required of them,” or (2) the law lacks the “precision and
guidance [that is] necessary so that those enforcing the law do not act in an

arbitrary or discriminatory way.” Fox Television Stations, 567 U.S. at 253;

see, e.g., United States v. Ruggiero, 791 F.3d 1281, 1290-91 (11th Cir. 2015).
      For the plaintiff to prevail on a constitutional vagueness claim, the

challenged law must be “so vague that persons of common intelligence must

necessarily guess at its meaning and differ as to its application,” Harris v.
Mexican Specialty Foods, Inc., 564 F.3d 1301, 1310 (11th Cir. 2009), or

“mislead[] the individuals it regulates into thinking that their conduct is not

proscribed.” Libertarian Party of Ohio v. Husted, 751 F.3d 403, 421-24 (6th

Cir. 2014) (citing Gentile v. State Bar of Nevada, 501 U.S. 1030, 1048 (1991)).

“[A] regulation is not vague because it may at times be difficult to prove an

incriminating fact but rather because it is unclear as to what fact must be
proved.” Fox Television Stations, 567 U.S. at 253.


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      A vagueness claim is always difficult to win, and is an even steeper
uphill climb when brought as a facial challenge. See Ruggiero, 791 F.3d at

1290-91; Trustees of Indiana Univ. v. Curry, 918 F.3d 537, 540-42 (7th Cir.

2019) (abortion law not facially vague). A law cannot be facially invalidated
as vague unless it is vague in “all of its applications.” Vill. of Hoffman Estates

v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 494-95 (1982); see also

United States v. Salerno, 481 U.S. 739, 745 (1987) (“A facial challenge to a

legislative Act is, of course, the most difficult challenge to mount successfully,

since the challenger must establish that no set of circumstances exists under

which the Act would be valid.”). Facial vagueness occurs only “‘when a

statute is utterly devoid of a standard of conduct so that it simply has no core

and cannot be validly applied to any conduct.’” Indigo Room, Inc. v. City of

Fort Myers, 710 F.3d 1294, 1302 (11th Cir. 2013) (quoting High Ol’ Times,

Inc. v. Busbee, 673 F.2d 1225, 1228 (11th Cir. 1982)).

      B.    Section 3(b) of the Act—which is the focus of Plaintiffs’ vagueness

claim—easily passes constitutional muster. Leaving no room for guesswork,
it precisely defines “natural person” as “any human being, including an

unborn child.” Act §3(b). It then further defines “unborn child” as “a member

of the species Homo sapiens at any stage of development who is carried in the
womb.” Id. §3(e)(2). These definitions are clear and unambiguous, and

Plaintiffs do not assert otherwise.

      Plaintiffs nonetheless allege that the Act’s definition of “natural
person” is facially vague because it could potentially make other criminal



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statutes vague. See Compl. ¶¶38, 68, ECF No. 1. But that reasoning gets
things exactly backwards. Rather than taking a statute and speculating or

hypothesizing about potentially vague applications, the proper analysis in a

facial challenge like this case is to identify valid applications. As the
Eleventh Circuit has held, the “possibility of a valid application necessarily

precludes facial invalidity.” Indigo Room, 710 F.3d at 1302; see also

Performing Abortion Servs. v. Lakey, 667 F.3d 570, 580 (5th Cir. 2012) (facial

vagueness cannot be established through “speculation about possible

vagueness in hypothetical situations not before the court” (cleaned up)

(quoting Hill v. Colorado, 530 U.S. 703, 733 (2000))). In short, if there could

be any non-vague applications of the statute, a “series of as applied

challenges is a more appropriate forum for challenging [its] other, potentially

more vague applications ….” Alabama Educ. Ass’n v. State Superintendent of

Educ., 746 F.3d 1135, 1140 & n.3 (11th Cir. 2014); see also Holder v.

Humanitarian Law Project, 561 U.S. 1, 19-20 (2010).

      Here, there is no question that the Act’s definition of “natural person”
has clear, constitutionally valid applications. In the Act itself, Section 3(d)

provides: “Unless otherwise provided by law, any natural person, including

an unborn child with a detectable human heartbeat, shall be included in
population based determinations.” Act §3(d) (emphasis added). In that

provision, Section 3(b)’s definition functions clearly and unambiguously, by

providing that unborn children with detectable heartbeats shall be included
in the State’s population-based determinations. This provision alone shows



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the “possibility of a valid application” that “necessarily precludes facial
invalidity.” Indigo Room, 710 F.3d at 1302.

      In speculating about potentially vague applications of the definition of

“natural person,” Plaintiffs focus heavily on the crime of reckless conduct.
They suggest that it is now unclear whether “routine” or “specialized”

medical treatment of a pregnant woman could give rise to criminal liability if

that treatment causes side effects that “accidentally” harm an unborn child.

See Compl. ¶¶38, 68, ECF No. 1. The notion that the Act could somehow be

read to criminalize standard medical care provided in good faith is baseless.

The reckless conduct statute, by its plain terms, only criminalizes the

conscious disregard of a “substantial and unjustifiable risk that [the

defendant’s] act or omission will cause harm or endanger the safety of the

other person.” O.C.G.A. §16-5-60(b) (emphasis added). It strains credulity to

suggest that medically indicated care intended to treat a medical condition in

a pregnant woman would be deemed an “unjustifiable” risk. Indeed, Plaintiffs

have conceded that “[a]ll medical care entails the risk of unintentional harm
to the patient; clinicians, including clinicians treating patients who are

pregnant, might be pregnant, or might become pregnant, accept that risk and

weigh that risk against the benefits of treatment.” Defts’ SMF ¶6.
      Plaintiffs’ theory also ignores the Georgia courts’ authoritative

interpretation of the reckless-conduct statute. In State v. Boyer, 270 Ga. 701

(1999), the Georgia Supreme Court rejected a vagueness challenge to the
reckless-conduct statute brought by a daycare worker who was convicted for



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handling an infant roughly. As the court explained, a conviction under the
reckless conduct statute requires disregarding a risk that is “clear,

substantial, and unjustifiable,” where “disregarding such a risk would be a

gross deviation from the standard of care a reasonable person would exercise
in the situation.” Id. at 702 (emphasis added). As long as any medical

treatment of a pregnant woman comports with the “standard of care a

reasonable person would exercise in the situation,” it simply would not be

deemed reckless conduct. Id. Plaintiffs’ speculation otherwise provides no

basis to find the definition of “natural person” unconstitutionally vague on its

face. See also Harris v. McRae, 448 U.S. 297, 311 n.17 (1980) (“[T]he Hyde

Amendment is not void for vagueness because … the sanction provision in the

Medicaid Act contains a clear scienter requirement under which good-faith

errors are not penalized ….”); Gonzales v. Carhart, 550 U.S. 124, 149 (2007)

(scienter requirement “alleviate[s] vagueness concerns”).

      Plaintiffs’ proposed remedy of invalidating the entire Act is also grossly

overbroad. Even assuming the new definition of “natural person” introduced
ambiguity into other provisions of the Georgia Code, this Court could resolve

that ambiguity by imposing a limiting construction rather than striking down

the entire law. See Gonzales, 550 U.S. at 153 (“The elementary rule is that
every reasonable construction must be resorted to, in order to save a statute

from unconstitutionality.” (cleaned up)); Lake Carriers’ Ass’n v. MacMullan,

406 U.S. 498, 509-12 (1972) (declining to consider pre-enforcement facial
vagueness challenge until state courts were given opportunity to provide a



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limiting construction); Lakey, 667 F.3d at 581 (rejecting facial challenge in
light of limiting construction that included scienter requirement).

      In any event, it would exceed the proper scope of this Court’s remedial

power to invalidate every single application of the definition of “natural
person” based on nothing more than Plaintiffs’ speculation about a handful of

other statutes. Any such issues must be addressed on an as-applied basis

through more tailored relief.

      C.    Finally, Plaintiffs allege in passing that the Act is vague because

of a risk of “arbitrary and discriminatory enforcement.” Compl. ¶78, ECF

No. 1. But, once again, a facial challenge is the wrong vehicle for this

allegation. “[R]egardless of the risk of discriminatory enforcement, a court

may not hold that this risk invalidates the statute in a pre-enforcement facial

attack.” Busbee, 673 F.2d at 1231. That is because, in a pre-enforcement

challenge, “no evidence has been, or could be, introduced to indicate whether

the Act has been enforced in a discriminatory manner or with the aim of

inhibiting constitutionally protected conduct.” Gonzales, 550 U.S. at 150
(cleaned up); see also Fla. Businessmen for Free Enter. v. City of Hollywood,

673 F.2d 1213, 1220 (11th Cir. 1982). “[S]uch allegations amount merely to

generalized, hypothetical threats, which are [nonjusticiable].” City of S.
Miami v. DeSantis, 2019 WL 6769665, at *22 (S.D. Fla. 2019).

      Moreover, the problem of ripeness is “much the same” as the problem of

standing in these types of cases. Elend v. Basham, 471 F.3d 1199, 1210-12
(11th Cir. 2006). Without a “credible threat of prosecution,” a request for



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“injunctive and declaratory relief” against a state is “especially unfit for
judicial decision.” Id. And the bare fear of prosecution without a “direct and

immediate dilemma” is not a sufficient “hardship.” DeSantis, 2019 WL

6769665, at *18-23 (cleaned up). Plaintiffs’ boilerplate invocation of the risk
of “arbitrary or discriminatory enforcement” is not ripe for this Court’s review

and cannot support a facial vagueness challenge to the LIFE Act.4

III.   Defendants Are Entitled To Partial Summary Judgment On The
       Ground That All Provisions Of The Act Not Specifically Found
       Unconstitutional Are Severable.
       Plaintiffs ask this Court to invalidate every word of the LIFE Act. It is

undisputed, however, that the Act’s provisions that address matters other

than post-heartbeat abortions or the definition of “natural person” cause

them no harm. See Defts’ SMF ¶1; Tr. 69-70, ECF No. 99 (Plaintiffs’ counsel:

“I guess I just need to say I don’t want to stand here and represent that
Plaintiffs would have independent standing to challenge Sections 5, 6, and

12. They wouldn’t.”). The only ground on which Plaintiffs challenge those

other provisions is that they are purportedly “non-severable.” Defts’ SMF ¶1.
But Plaintiffs have not come close to showing that the Act as a whole is non-

severable and must be invalidated in its entirety.


       4This Court previously held that plaintiffs were likely to succeed on
their vagueness claim due to “unanswered questions” about how the new
definition of “natural person” would apply to other provisions of the Act,
combined with a “risk of arbitrary or discriminatory enforcement.” Order
at 38-40, ECF No. 97. But Defendants respectfully submit that the legal
standard for prevailing on a facial vagueness claim is more demanding than
the one this Court previously applied, as shown in the cases cited above.

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      Severability is governed by state law, City of Lakewood v. Plain Dealer
Pub. Co., 486 U.S. 750, 772 (1988), and “Georgia law favors [severability].”

E.g., Roma Outdoor Creations, Inc. v. City of Cumming, Ga., 2009 WL

10700286, at *3 (N.D. Ga. 2009) (citing cases). Georgia courts will therefore
sever an offending provision as long as doing so would “correspond with the

main purpose which the legislature sought to accomplish” and “enough

remains to accomplish that purpose.” Union City Bd. of Zoning Appeals v.

Justice Outdoor Displays, Inc., 266 Ga. 393, 404 (1996) (cleaned up).

Relatedly, if an invalid provision is “independent” and can “stand[] alone as a

separate and distinct obligation,” it is severable. Lamar Advert. Co. v. City of

Douglasville, Ga., 254 F. Supp. 2d 1321, 1336-38 (N.D. Ga. 2003); see, e.g.,

Kennedy v. Avondale Estates, Ga., 414 F. Supp. 2d 1184, 1219-20 (N.D. Ga.

2005). Finally, an express severability clause in the challenged statute

creates a presumption of severability. See Union City, 266 Ga. at 404.

      Even if this Court finds Section 4(b)’s restrictions on post-heartbeat

abortions or the definition of “natural person” unconstitutional, those
provisions could easily be severed from the rest of the Act. Because the Act

contains an express severability clause, see Act §14, each of its provisions

must be presumed severable. And multiple other provisions of the Act
operate independently of the challenged provisions while still advancing the

Legislature’s purpose of supporting pregnant women and unborn children.

The Act’s findings in Section 2 do not impose regulations or restrictions at all;
they merely announce “the policy of the State of Georgia” about the



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importance of protecting unborn life. See Act §2. The Act’s provision of tax
deductions to pregnant women to ease their financial burden—and its

provisions that ensure absent fathers support their unborn children through

alimony and child support—advance the statutory purposes while operating
independently of the provisions Plaintiffs challenge. See id. §§5, 12. The same

is true of the Act’s provisions about tort damages for the parents of a victim

of fetal homicide and the new measures for counting population, both of

which are entirely independent of the challenged provisions. See id. §§3(d), 6.

      Moreover, the Act’s informational, reporting, and informed-consent

provisions may be related to abortion, see id. §§7, 8, 9, but Plaintiffs have not

specifically challenged them, and the Supreme Court has upheld similar

measures for decades. See, e.g., Planned Parenthood of Se. Pa. v. Casey, 505

U.S. 833, 872 (1992) (even in “the earliest stages of pregnancy,” state may

enact laws to ensure that abortion decisions are “thoughtful and informed”).

      Courts that have found abortion restrictions to be unconstitutional

have repeatedly severed those provisions from other aspects of the legislation
at issue. The Supreme Court has emphasized that a reviewing court must

“prefer … to sever [the abortion law’s] problematic portions while leaving the

remainder intact.” Ayotte v. Planned Parenthood of N. New England, 546 U.S.
320, 328-32 (2006); see Leavitt v. Jane L., 518 U.S. 137, 139-44 (1996). That

is, a federal court must “try not to nullify more of a legislature’s work than is

necessary.” Ayotte, 546 U.S. at 328-32. Applying those principles, a district
court in Arkansas deemed several testing and disclosure requirements to be



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severable from a provision restricting post-heartbeat abortions. See Edwards
v. Beck, 8 F. Supp. 3d 1091, 1101 (E.D. Ark. 2014) (“[T]he remaining

heartbeat testing and disclosure requirements are independently capable of

furthering the stated purpose of Act 301, to protect unborn children ….”).
      Several other federal courts have similarly severed restrictions on

abortion that were deemed unconstitutional while upholding the remainder

of the challenged statutes. See, e.g., Falls Church Med. Ctr., LLC v. Oliver,

412 F. Supp. 3d 668, 685-86, 705 (E.D. Va. 2019) (severing invalid provisions

but upholding “the remainder of the regulations at issue … which were not

shown to be otherwise unduly burdensome”); Reprod. Health Servs. v.

Marshall, 268 F. Supp. 3d 1261, 1293-94 (M.D. Ala. 2017) (severing invalid

provisions where doing so “will not cause the statute to be meaningless”).

      In its preliminary injunction order, this Court held that provisions such

as Sections 5, 6, and 12 were not severable because they cross-referenced the

definition of “detectable human heartbeat” from Section 3 and were

“mutually dependent” upon that definition. See Order at 44-45, ECF No. 97.
But Plaintiffs have never challenged the definition of “detectable human

heartbeat” as vague or unconstitutional; they have instead challenged the

definition of “natural person.” See Compl. ¶38, 68, 76, ECF No. 1. And even if
one or more of the definitions in Section 3 had some unconstitutional

applications—which the State disputes—any such applications could easily

be severed from provisions of the Act that operate independently, such as the
child support, tax deduction, and tort damages provisions.



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                              CONCLUSION
     For the reasons set forth above, the Court should grant Defendants’
motion for summary judgment and/or partial summary judgment.

                                         Respectfully submitted,

Dated:    February 20, 2020              /s/ Jeffrey M. Harris

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                    CERTIFICATE OF COMPLIANCE
      I certify that this brief uses 13-point Century Schoolbook in compliance
with Local Rule 5.1(B).

                                       /s/ Jeffrey M. Harris
                                       Jeffrey M. Harris (pro hac vice)
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                        CERTIFICATE OF SERVICE
      I hereby certify that the foregoing brief was electronically filed with the
Clerk of Court using the CM/ECF system on February 20, 2020, thereby

serving all counsel of record.

                                        /s/ Jeffrey M. Harris
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